Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 1 of 6 PageID 990




                               UNITED STATES OF AMERICA
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

               v.                                             CASE NO. 8:07-cr-342-T-23MAP

AHMED ADELLATIF SHERIF MOHAMED
YOUSSEF SAMIR MEGAHED
_______________________________________/

                                             ORDER

       This cause is before the Court on Media General Operations, Inc., d/b/a WFLA-TV News

Channel 8’s motion to intervene and for access to judicial record (doc. 128) and WTSP-TV’s

motion for access (doc. 138).1 WFLA seeks a copy of a video of the Defendants’ traffic stop and

questioning that was recorded by a camera mounted inside a police car. The video was admitted

into evidence during a hearing on the Defendants’ motion to suppress, and portions of the video

were played in open court in the presence of the public and representatives of the media. WTSP’s

request is broader – in addition to the traffic stop video, WTSP seeks to “review and copy all

documentary and physical evidence including” the videotapes admitted into evidence during the

hearing on the Defendants’ motion to suppress.2 Defendant Ahmed Abdellatif Sherif Mohamed

objects to the release of the traffic stop video on Sixth Amendment grounds. The United States



       1
         WTSP has not formally moved to intervene, but the Court will construe its motion as a
motion to intervene for the limited purpose of seeking access.
       2
          In addition to the Government’s exhibit 1, a CD containing a recording of the traffic stop
and subsequent questioning that was introduced by the government, two more CDs were entered
into evidence. Defendant Megahed’s exhibit 7 contains four still photographs of the roadside
where the Defendants were stopped, and also contains a video of the stretch of road in Goose
Creek, S.C. where the Defendants were pulled over. Defendant Megahed’s exhibit 9 contains
footage of the arresting officers making two other traffic stops prior to the stop of the Defendants’
vehicle, the traffic stop of the Defendants’ vehicle, and the subsequent search of their vehicle.
Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 2 of 6 PageID 991




and Defendant Youssef Samir Megahed are neutral on this issue.

        There is no First Amendment right to copy and broadcast a video played in open court.

See Belo Broadcasting Corp. v. Clark, 654 F.2d 423, 426–27 (5th Cir. 1981).3 There is, however,

a common-law right to inspect and copy judicial records. See Newman v. Graddick, 696 F.2d 796,

803 (11th Cir. 1983). The Eleventh Circuit has recognized that this common law right of access

is “important if the public is to appreciate fully the often significant events at issue in public

litigation and the workings of the legal system.” Id. Nonetheless, this common law right is not

absolute, and may be curtailed when it “interfere[s] with the administration of justice.” Id.

        In deciding whether to allow access, a court must consider the “historic presumption of

access to judicial records.” Id. Courts also look to “whether the records are sought for illegitimate

purposes as to promote public scandal or gain unfair commercial advantage, whether access is

likely to promote public understanding of historically significant events, . . . whether the press has

already been permitted substantial access to the contents of the records, [and] whether the

administrative difficulties in providing access would disrupt the progress of the trial.” United

States v. Rosenthal, 763 F.2d 1291, 1294–95 (11th Cir. 1985). A criminal defendant’s right to a

fair trial is the “primary ultimate value to be weighed on the non-access side of the balance.” Id.

at n.5 (emphasis added). The decision whether to allow inspection and copying of judicial records

is left to the “sound discretion of the trial court, a discretion to be exercised in light of the relevant

facts and circumstances of the particular case.” Nixon v. Warner Communications, Inc., 435 U.S.

589, 599 (1978).


        3
          Decisions of the former Fifth Circuit rendered prior to October 1, 1981, are binding
precedent on federal courts within the Eleventh Circuit. See Bonner v. City of Prichard, 661 F.2d
1206, 1209 (11th Cir. 1981).

                                                    2
Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 3 of 6 PageID 992




        The television stations contend that the release of the video will facilitate public

understanding of this proceeding, because the video is crucial evidence on the suppression issue

in this case. Although WFLA acknowledges that a transcript has been made public, it contends

that the video “conveys body language, tone of voice, and other elements that a mere written

record lacks.” See doc. 128 at 3. WFLA contends that the release of the tape will not violate the

Defendants’ trial rights because its content is focused on the actions of law enforcement: “[a]

recording of racist comments from sheriff’s deputies would hardly implicate these Defendants and

in fact might tend to exculpate them.” See doc. 128 at 4. Moreover, WFLA contends that

prohibiting the release of the tape will not prevent jurors from learning the contents of the video,

since the information was already disseminated to the public when the video was played in open

court. Finally, WFLA argues that the jurors in this case could be instructed to set aside any

knowledge they have gained from media accounts. In response, Defendant Mohamed argues that

in addition to a recording of the traffic stop, the videotape contains a recording of his statements,

and particularly in this “youtube” generation where statements could be edited and rebroadcast,

the release of these statements could violate his right to a fair trial.

        This Court’s primary concern is protecting the Defendants’ right to a fair trial. “It is better

to err, if err we must, on the side of generosity in the protection of a defendant’s right to a fair trial

before an impartial jury.” See Belo, 654 F.2d at 431. The media had access to the suppression

hearing and was free to report on the portions of the tape that were played in open court. This case

has already received substantial publicity. The release and broadcast of the tapes may have more

of an inflammatory impact on the viewing public than a mere recounting of the testimony and

evidence presented at the suppression hearing. See In re NBC Universal, Inc., 426 F. Supp. 2d 49,


                                                    3
Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 4 of 6 PageID 993




58 (E.D. N.Y. 2006) (recognizing that “[t]elevision indubitably has a much greater potential impact

on jurors than print media,” and finding that voir dire would be “an insufficient cure if a large

segment of the citizens in this district are exposed to the prejudicial information”).

       The copying and broadcasting of the video at this time is particularly problematic, with the

time for jury selection is soon approaching. For this reason, United States v. Trofimoff, 2001 WL

1644230 (M.D. Fla. 2001), on which WFLA relies, is distinguishable. At the time the Trofimoff

court allowed the release of videotapes, the jury had already been selected and instructed not to

watch any television coverage of the case or read any newspaper articles on the case. See Id. at

*2. I recognize that some courts have allowed for the copying of videotapes, trusting that voir dire

or a change of venue could address any prejudicial effect of the tape’s broadcasting. See, e.g.,

United States v. Saunders, 611 F. Supp. 45, 49 (S.D. Fla. 1985) (acknowledging that “broadcast

of the tape will greatly increase the number of people with knowledge of the tape’s content” and

that “actually seeing the tape will create a stronger impression on people than merely hearing a

news account of the content of the tape,” but finding that the defendants’ fair trial rights could be

adequately protected by searching voir dire, or by “continuing the trial until public attention has

subsided or changing the venue to a place less exposed to the publicity”). However, the decision

whether to allow inspection and copying of judicial records is left to a trial court’s sound

discretion, and I find that the copying and broadcasting of the tapes at this sensitive time in the

proceedings may inappropriately impact impaneling a jury. Particularly because the Defendants

are confined, I find it inappropriate to allow for the copying of a tape that may be used in a

sensationalistic manner and could result in a delay of the trial. While the television stations’

request to copy the traffic stop videos (Gov’t ex. 1 and Defendant Megahed’s ex. 9) must be


                                                  4
Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 5 of 6 PageID 994




denied at this point in the proceedings to protect the Defendants’ right to a fair trial, the copying

of Defendant Megahed’s exhibit 7 (the four photographs and the video of the area of the road

where the stop occurred) do not raise the same concerns. Accordingly, WTSP’s motion for access

is granted in part as to those items.

        This Court acknowledges that the release of the traffic stop tape may be appropriate later

in the proceedings. See United States v. Shenberg, 817 F.Supp. 118, 120 (S.D. Fla. 1993) (allowing

for the release of tapes admitted into evidence in criminal trial, but delaying the release until the jury

concludes deliberations and reaches a verdict); United States v. Eaves, 685 F.Supp. 1243, 1245

(N.D. Ga. 1988) (holding that to protect the defendant’s right to a fair trial, the portions of the tapes

admitted into evidence at trial would be released to the media only after the close of evidence).

However, “[t]he public’s right of access to judicial material is not necessarily a right to

instantaneous access; nor does the media’s right to inspect such materials include a guarantee that

they will be released when the effect of their dissemination would be the most sensational.” See

Eaves, 685 F.Supp. at 1245. Accordingly, it is hereby

        ORDERED:

        1. Motions to intervene are GRANTED.

        2. Motion to access and copy the videos of the traffic stop (Gov’t ex. 1, Def. Megahed’s ex.

9) are denied.

        3. WTSP’s motion to access and copy the CD containing the photos and video of the

roadside (Def. Megahed’s ex. 7) and the documents admitted at the suppression hearing is granted.

        4. The Clerk of Court will be able to provide copies of the documents admitted at the

suppression hearing (Gov’t ex.2-10, Def. Megahed’s ex. 2, 10, and 11, and Def. Mohamed’s ex. 1-2)


                                                    5
Case 8:07-cr-00342-SDM-MAP Document 151 Filed 02/28/08 Page 6 of 6 PageID 995




upon request at the usual fee. The Clerk of Court will also provide a copy of the CD containing the

photos and video of the roadside (Def. Megahed’s ex. 7) upon request.

       DONE AND ORDERED at Tampa, Florida on February 28, 2008.




cc:    Counsel of Record
